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 5 Attorney for:
   Rigoberto Nunez
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                            CASE NO. 2:17-CR-00149 TLN
10
                                     Plaintiff,           AMENDED STIPULATION REGARDING
11                                                        EXCLUDABLE TIME PERIODS UNDER SPEEDY
                              v.                          TRIAL ACT; FINDINGS AND ORDER TO
12                                                        CONTINUE CASE TO 2/21/19 AT 9:30 A.M.
     RIGOBERTO NUNEZ,
13   OSCAR ANDRADE,
     OSCAR RODRIGUEZ,
14                                   Defendants

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                                                     STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, James Conolly, and
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     Defendants Rigoberto Nunez, represented by Attorney Preciliano Martinez, Defendant Oscar Andrade
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     represented by Attorney Dina Santos; Defendant Oscar Rodriguez, represented by David Fischer, hereby
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     stipulate as follows:
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            1.      By previous order, this matter was set for status on September 20, 2018.
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            2.      By this stipulation, defendants now move to continue the status conference until February
22
     21, 2019, and to exclude time between September 20, 2018, and February 21, 2019, under Local Code
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     T4 and Local Code M. Plaintiff does not oppose this request. The Defense continues to conduct
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     investigation, review discovery and negotiate with the Government.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants desire additional time to continue to conduct
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            investigation, and to otherwise prepare for trial. Counsel for defendants believe that failure to
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      Stip. & Order Continuing Status Conf. & Excluding   1
      Time Periods Under Speedy Trial Act
                 Case 2:17-cr-00149-TLN Document 59 Filed 09/19/18 Page 2 of 3


 1          grant the above-requested continuance would deny them the reasonable time necessary for

 2          effective preparation, taking into account the exercise of due diligence. The government does

 3          not object to the continuance.

 4                  b)       Based on the above-stated findings, the ends of justice served by continuing the

 5          case as requested outweigh the interest of the public and the defendant in a trial within the

 6          original date prescribed by the Speedy Trial Act.

 7                  c)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8          et seq., within which trial must commence, the time period of September 20, 2018, and February

 9          21, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

10          Code T4] for Mr. Nunez and Mr. Andrade, because it results from a continuance granted by the

11          Court at defendants request on the basis of the Court’s finding that the ends of justice served by

12          taking such action outweigh the best interest of the public and the defendants in a speedy trial.

13                  d)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14          et seq., within which trial must commence, the time period of September 20, 2018, and February

15          21, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(3)(A) &(B) [Local

16          Code M] : unavailability of a defendant for Mr. Rodriguez.

17          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21 Dated: September 19, 2018                                  MCGREGOR SCOTT
                                                              United States Attorney
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23                                                            /s/ James Conolly
                                                              JAMES CONOLLY
24                                                            Assistant United States Attorney

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26 Dated: September 19, 2018                               /s/ Preciliano Martinez
                                                           PRECILIANO MARTINEZ, ESQ.
27                                                         Attorney for Rigoberto Nunez
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               Case 2:17-cr-00149-TLN Document 59 Filed 09/19/18 Page 3 of 3


 1
     Dated: September 19, 2018                              /s/ Dina L. Santos
 2                                                          DINA L. SANTOS, ESQ.
                                                            Attorney for Oscar Andrade
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 4

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 6 Dated: September 19, 2018                                /s/ David Fischer
                                                            DAVID FISCHER, ESQ.
 7
                                                            Attorney for Oscar Rodriguez
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10                                                        ORDER
11          IT IS SO FOUND AND ORDERED this 19th day of September, 2018.
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15                                                                   Troy L. Nunley
                                                                     United States District Judge
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      Stip. & Order Continuing Status Conf. & Excluding     3
      Time Periods Under Speedy Trial Act
